             Case 2:09-mj-00250-DAD Document 47 Filed 12/10/09 Page 1 of 2


1    MICHAEL B. BIGELOW
     Attorney at Law
2    State Bar No. 65211
     428 J Street, Suite 350
3    Sacramento, CA 95814
     Telephone: (916) 443-0217
4
     Attorney for Defendant
5    Travis Price
6                      IN THE UNITED STATES DISTRICT COURT
7                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,           ) Case No. Cr.S-09-MJ-250 EFB
                                         )
10                Plaintiff,             ) STIPULATION AND ORDER CONTINUING
                                         ) PRELIMINARY EXAMINATION
11          vs.                          )
                                         )
12                                       ) Date: January 28, 2010
     TRAVIS PRICE                        ) Time: 2:00 PM
13                                       )
                                           Court: Duty Magistrate
                  Defendant              )
14                                       )
15
            The parties to this action, plaintiff United States of
16
     America and defendant, Travis Price, hereby stipulate through
17
     their respective attorneys to continue the preliminary hearing
18
     scheduled for December 14, 2009, to January 28, 2010, at 2:00
19   p.m.
20          The parties are discussing a potential pre-indictment

21   resolution of the pending charges and the government is making

22
     discovery available to the defense for that purpose.            The parties
     further agree that the above reasons constitute good cause to
23
     extend the time for preliminary hearing under Federal Rule of
24
     Criminal Procedure 5.1, and that the time within which the
25
     indictment must be filed should be extended to January 28, 2010,



                                          -1-
           Case 2:09-mj-00250-DAD Document 47 Filed 12/10/09 Page 2 of 2


1    pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and
2    (B)(iv), for the reasons stated above.       Assistant U.S. Attorney

3    Todd D. Leras has authorized defense counsel to sign this
     stipulation on his behalf.
4

5
                                      Respectfully submitted,
6
     Dated: December 8, 2009
7
                                        /s/ MICHAEL B. BIGELOW
                                       MICHAEL BIGELOW
8                                      Attorney for Defendant
                                       TRAVIS PRICE
9

10   Dated: December 9, 2009
                                        /s/ Todd D. Leras
11                                     TODD D. LERAS
                                       Assistant United States Attorney
12

13                                    ORDER

14
          Based on the stipulation of the parties and good cause
     being shown, the preliminary hearing in this matter is continued
15
     to January   28, 2010, at 2:00 p.m.      Time is excluded under the
16
     Speedy Trial Act pursuant to the reason stated in the
17
     stipulation of the parties.
18

19   Dated: December 10, 2009
20

21

22

23

24

25




                                        -2-
